       Case 1:10-cr-00034-SM     Document 22     Filed 05/17/10   Page 1 of 2




                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

             v.
                                             Case No. 10-cr-34-01-02-SM

Stephen Waterman and
Donna Tyler Monroe,
      Defendants

                                    ORDER


      Defendant Waterman and Monroe’s motions to continue the final pretrial

conference and trial are granted (document nos. 20 and 21). Trial has been

rescheduled for the month of July 2010. Defendants Waterman and Monroe

shall file a waivers of speedy trial rights not later than May 17 and May 20,

2010, respectively. On the filing of such waivers, their continuances shall be

effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective
       Case 1:10-cr-00034-SM    Document 22     Filed 05/17/10   Page 2 of 2




preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference is rescheduled for July 9, 2010 at 1:30 p.m.

      Jury selection will take place on July 20, 2010 at 9:30 a.m.



      SO ORDERED.



                                      _________________________
                                        Steven J. McAuliffe
                                           Chief Judge


May 17, 2010

cc:   Jessica C. Brown, Esq.
      Kevin E. Sharkey, Esq.
      Donald A. Feith, AUSA
      U.S. Marshal
      U.S. Probation




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